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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION


UNITED STATES OF AMERICA,               )
                                        )
      Plaintiff,                        )
                                        )
      vs.                               )     Case No. 4:08CR405 CDP
                                        )
JAMAL JESUS JUAN SWAIN,                 )
                                        )
      Defendant.                        )

                                      ORDER

      IT IS HEREBY ORDERED that the government’s motion to continue

[#510] is granted and the hearing on Third Party Petitioner Homecomings

Financial, LLC’s ancillary request to resolve their interest in forfeited property is

reset to Monday, June 15, 2009 at 1:30 p.m.




                                        _______________________________
                                        CATHERINE D. PERRY
                                        UNITED STATES DISTRICT JUDGE


Dated this 5th day of June, 2009.
